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                               Exhibit B
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                                    ATTACHMENT


    Aff. Para a h   Reason s for withholdin
    Prefatory       Agent safety
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    Heading above
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    Heading above
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    Heading above
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    Agent           Agent safety
    si ature
